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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF MONTANA
                                            BUTTE DIVISION

               UNITED STATES OF AMERICA,                              CR 19-13-BU-DLC

                                  Plaintiff,                     BRIEF IN SUPPORT OF
                                                              UNOPPOSED MOTION FOR AN
               vs.                                                 ENDS OF JUSTICE
                                                              CONTINUANCE PURSUANT TO
               FABJAN ALAMETI,                                      18 U.S.C. § 3161

                                 Defendant.


                        Mr. Alameti has been charged by Indictment with three counts of false

              statement to a federal officer in a matter involving terrorism, in violation of 18 U.S.C.

              § 1001, and one count of possession of a firearm by an unlawful user of a controlled

              substance, in violation of 18 U.S.C. § 922(g)(3).

                        Mr. Alameti faces a maximum eight year sentence of imprisonment for the false


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              statement counts and a maximum sentence of ten years imprisonment for the firearm

              count.

                        The basis for this continuance is the need to receive and review discovery and

              conduct computer forensics. Thus far, over 4,000 pages of discovery and a hard drive

              containing computer and cell phone data has been produced.

                        AUSA Jeffrey Starnes informs, under FBI policy, all counter-terrorism

              investigations are classified. Most of the discovery in this case has been declassified

              and already produced, with the exception of items relating to two informants who

              worked with the FBI in Montana.             AUSA Starnes informs, at this time, the

              government does not intend to call those informants as witnesses.

                        The informants wore wires when they spoke with Mr. Alameti. Those

              recordings remain classified. Written summaries of those recordings are being

              declassified to be produced as discovery. Transcriptions of the recordings are also

              being prepared to be produced in discovery.

                                                     ARGUMENT

                        “The Speedy Trial Act ‘gave effect to a Federal defendant’s right to speedy trial

              under the Sixth Amendment and acknowledged the danger to society represented by

              accused persons on bail for prolonged periods.’” United States v. Rojas-Contreras,

              474 U.S. 231, 238 (1985) (J. Blackmun concurring) (citation omitted). The Speedy

              Trial Act requires a defendant to be tried within seventy days of his indictment or of


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              his initial appearance, whichever is later. See 18 U.S.C. § 3161(c)(1). The Act

              further provides, however, that:

                        (h) The following periods of delay shall be excluded in computing the
                        time within which an information or an indictment must be filed, or in
                        computing the time within which the trial of any such offense must
                        commence:

                               (7)(A) Any period of delay resulting from a continuance granted
                               by any judge on his own motion or at the request of the defendant
                               or his counsel or at the request of the attorney for the
                               Government, if the judge granted such continuance on the basis
                               of his findings that the ends of justice served by taking such
                               action outweigh the best interest of the public and the defendant
                               in a speedy trial. No such period of delay resulting from a
                               continuance granted by the court in accordance with this
                               paragraph shall be excludable under this subsection unless the
                               court sets forth, in the record of the case, either orally or in
                               writing, its reasons for finding that the ends of justice served by
                               the granting of such continuance outweigh the best interests of the
                               public and the defendant in a speedy trial.

              18 U.S.C. § 3161(h)(7)(A).

                        The Ninth Circuit imposes exacting standards before an “ends of justice”

              continuance can be granted. As the Circuit explained, “a district court may grant an

              ‘ends of justice’ continuance only if it satisfies two requirements: (1) the continuance

              is ‘specifically limited in time’; and (2) it is ‘justified [on the record] with reference

              to the facts as of the time the delay is ordered.’” United States v. Clymer, 25 F.3d 824,

              828 (9th Cir. 1994) (quoting United States v. Jordan, 915 F.2d 563, 565 (9th Cir.

              1990)) (additional citations omitted).

                        The Ninth Circuit recently reiterated:
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                        A district court’s “discussion of the statutory factors is adequate to
                        support a continuance that serves the ends of justice” when it is clear
                        that the district “considered the factors in § 3161(h)([7])(B) and
                        determined that the continuance was merited based on” the applicable
                        factor or factors.

              United States v. McCarns, 900 F.3d 1141, 1145 (9th Cir. 2018) (quoting United

              States v. Medina, 524 F.3d 974, 986 (9th Cir. 2008)).

                        Here, Mr. Alameti requests a defined extension – a no later than a September

              16, 2019 trial setting. Mr. Alameti is currently incarcerated in Shelby. The known

              facts justify the requested extension. Mr. Alameti believes the failure to grant a

              continuance would result in a miscarriage of justice, per 18 U.S.C. § 3161(h)(7)(A)

              and (B).

                        Mr. Alameti believes that his case falls within 18 U.S.C. § 3161(h)(7)(B)(i),

              (ii), and (iv), which permit the Court to (i) grant a continuance to prevent a

              miscarriage of justice, or (ii) declare a case to be unusual or complex, or (iv) grant a

              continuance to permit the defense reasonable time necessary for effective preparation,

              and thus warrants a time extension beyond the Speedy Trial limits. These sections

              provide:

                        (B) The factors, among others, which a judge shall consider in
                        determining whether to grant a continuance under subparagraph (A) of
                        this paragraph in any case are as follows:

                               (i) Whether the failure to grant such a continuance in the
                               proceeding would be likely to make a continuation of such
                               proceeding impossible, or result in a miscarriage of justice.


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                               (ii) Whether the case is so unusual or so complex, due to the
                               number of defendants, the nature of the prosecution, or the
                               existence of novel questions of fact or law, that it is unreasonable
                               to expect adequate preparation for pretrial proceedings or for the
                               trial itself within the time limits established by this section.
                                                              ...

                               (iv) Whether the failure to grant such a continuance in a case
                               which, taken as a whole, is not so unusual or so complex as to fall
                               within clause (ii), would deny the defendant reasonable time to
                               obtain counsel, would unreasonably deny the defendant or the
                               Government continuity of counsel, or would deny counsel for the
                               defendant or the attorney for the Government the reasonable time
                               necessary for effective preparation, taking into account the
                               exercise of due diligence.

              18 U.S.C. § 3161(h)(7)(B)(i), (ii), and (iv).

                        Based on the facts detailed above – specifically, the seriousness of the charges,

              the volume of discovery, the need to conduct a defense computer forensic review, the

              current classification preventing the government’s release of some discovery, and Mr.

              Alameti’s detention in Shelby – trying the case on the current schedule would result

              in a miscarriage of justice, because this case is unusual and complex and more time

              is necessary to ensure justice and permit reasonable time necessary for effective

              preparation.

                                                    CONCLUSION

                        Given the lack of opposition by the government and the above facts, an ends

              of justice continuance is appropriate in this case. Pursuant to a Speedy Trial Waiver,

              to be filed separately, Mr. Alameti is willing to have his case tried as late as


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              September 16, 2019, and respectfully requests that the Court order an extended

              schedule.

                        Mr. Alameti does not believe a hearing is necessary to resolve this motion.

                        DATED this 24th day of May, 2019.

                                                                    FABJAN ALAMETI

                                                              By:    /s/ John Rhodes
                                                                    JOHN RHODES
                                                                     Assistant Federal Defender
                                                                     Federal Defenders of Montana
                                                                            Counsel for Defendant




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                                       CERTIFICATE OF COMPLIANCE

                        I hereby certify that this Brief in Support of Motion for Ends of Justice

              Continuance is in compliance with Local Rules. The brief’s line spacing is double

              spaced, and is proportionately spaced, with a 14 point font size and contains less than

              6,500 words. (Total number of words: 1,136, excluding tables and certificates).

                        Dated this 24th day of May, 2019.

                                                                      FABJAN ALAMETI

                                                                By:    /s/ John Rhodes
                                                                      JOHN RHODES
                                                                       Assistant Federal Defender
                                                                       Federal Defenders of Montana
                                                                              Counsel for Defendant




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                                          CERTIFICATE OF SERVICE

                        I hereby certify that on May 24, 2019, a copy of the foregoing document was

              served on the following persons by the following means:

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              1.        CLERK, UNITED STATES DISTRICT COURT

              2.        JEFFREY K. STARNES
                        Assistant United States Attorney
                              Counsel for the United States of America

              3.        MARK HENKEL
                        United States Probation Office

              4.        FABJAN ALAMETI
                            Defendant

                                                             By:   /s/ John Rhodes
                                                                   JOHN RHODES
                                                                   Assistant Federal Defender
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